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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

                                                             )
 In re:                                                      ) Chapter 11
                                                             )
 ALEXANDER E. JONES,                                         ) Case No. 22-33553 (CML)
                                                             )
                          Debtor.                            )
                                                             )

      NOTICE OF THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’
         BANKRUPTCY RULE 2004 EXAMINATION OF COINBASE, INC.

          Please take notice that, pursuant to Rule 2004 of the Federal Rules of Bankruptcy

Procedure (the “Bankruptcy Rules”) and Local Rule 2004-1 of the United States Bankruptcy Court

for the Southern District of Texas (the “Local Rules”), Coinbase, Inc. is commanded to produce

documents and electronically stored information (“ESI”), and respond to the requests for

production (the “Requests”), identified in the attached Exhibit A, to the undersigned counsel for

the Official Committee of Unsecured Creditors (the “Committee”) appointed in the above-

captioned chapter 11 case of debtor Alexander E. Jones (the “Debtor” and such case, the “Chapter

11 Case”) on or before May 19, 2023 at 5:00 p.m. CDT.

          Please take further notice that the Committee reserves its rights under title 11 of the United

States Code (the “Bankruptcy Code”), the Bankruptcy Rules, the Local Rules, and any applicable

law regarding the subject matter of this Notice, and to amend, supplement, and/or modify

Exhibit A attached hereto in accordance with the Bankruptcy Code, the Bankruptcy Rules, the

Local Rules, and other applicable law.




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 Dated: April 25, 2023                      Respectfully submitted,

                                            By: /s/ Marty L. Brimmage, Jr.
                                            Marty L. Brimmage, Jr.

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                                            -and-

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                                            Counsel to the Official Committee of Unsecured
                                            Creditors of Alexander E. Jones




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                              CERTIFICATE OF CONFERENCE

        Pursuant to Local Rule 2004-1, I hereby certify that counsel for the Committee conferred
with counsel for Coinbase, Inc. on the Committee’s Rule 2004 requests substantially in the form
reflected in Exhibit A on April 7, 2023.

                                               /s/ Marty L. Brimmage, Jr.
                                               Marty L. Brimmage, Jr.


                                 CERTIFICATE OF SERVICE
        I certify that on April 25, 2023, a true and correct copy of the foregoing and the attached
exhibit were served on all parties registered to receive electronic notice of filings in this case via
this Court’s ECF notification system.

                                               /s/ Marty L. Brimmage, Jr.
                                               Marty L. Brimmage, Jr.




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                                           EXHIBIT A

                                          DEFINITIONS

        The following definitions apply to the Requests. Unless otherwise defined herein, all

words and phrases used herein shall be accorded their usual meaning and shall be interpreted in

their common, ordinary sense.

        1.      The term “Account” shall mean any arrangement or agreement by which one or

more Persons accepts one or more Persons’ assets to hold on behalf of that Person, including but

not limited to savings accounts, checking accounts, money market accounts, brokerage accounts,

currency accounts, cryptocurrency accounts, trust accounts, arrangements or agreements by which

assets are stored, and any other accounts held with a financial institution.

        2.      The term “ACH Documentation” shall mean any authorization of or consent to

Payment that permits a Person to transfer financial assets from another Person’s Account.

        3.      The term “Affiliate” or “Affiliates” shall have the meaning ascribed to the term

“Affiliate” under 11 U.S.C. § 101(2).

        4.      The term “Agent” shall mean any Person or entity and their Professionals acting

for or on behalf of another Person or entity.

        5.      The term “Alex Jones Live” shall refer to the business associated with the website

https://alexjones.live.

        6.      The terms “all,” “any,” and “each” shall each be construed as encompassing any

and all of these terms.

        7.      The connectives “and” and “or” shall be construed either disjunctively or

conjunctively as necessary to bring within the scope of a Request all Documents, Communications,

or responses that might otherwise be construed to be outside of its scope.




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       8.      The term “ATM” shall mean any automated teller machine or similar computer

system through which one can complete financial transactions.

       9.      The term “Charge Card” shall mean any card, plate, or other single credit device

that may be used from time to time to obtain credit which is not subject to a finance charge.

       10.     The term “Communication” shall mean the transmittal of information (in the form

of facts, ideas, inquiries, or otherwise). For the avoidance of doubt, this may encompass any oral,

written, or electronic transmission of information without limitation, including meetings,

discussions, conversations, telephone calls, email messages, text messages, Bloomberg messages,

chat messages, Instant Bloomberg chat messages, social media messages (e.g., Facebook, Twitter),

WhatsApp chat messages, Signal app messages, Telegram app messages, GroupMe chat messages,

or other messaging platforms, memoranda, letters, analyst reports, telecopies, telefaxes, telexes,

conferences, seminars, messages, notes, video tapes, photographs, microfilm, microfiche,

magnetic disks, or other media of any kind.

       11.     The term “concerning” shall mean relating to (however remotely), referring to,

describing, evidencing, or constituting.

       12.     The term “Credit Card” shall mean any card, plate, coupon book, or other credit

device existing for the purpose of obtaining money, property, labor, or services on credit.

       13.     The term “Credit Documents” shall include any Documents concerning any

application or request for an extension of credit of any kind including, but not limited to,

mortgages, personal loans, lines of credit, and credit cards. For the avoidance of doubt, this

includes, but is not limited to, the following types of Documents: (a) W-2 forms; (b) pay stubs; (c)

income tax returns; (d) bank Account statements; (e) retirement and investment Account

statements; (f) gift letters; (g) Documents verifying creditworthiness; (h) residential rental




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Payment histories; (i) other Tax Documents; and (j) any other Document submitted in connection

with an application for an extension of credit.

       14.     The term “Cryptocurrency Wallet” shall mean any device, physical medium,

program, app, service, or software that stores private keys for cryptocurrency or cryptocurrency

transactions, whether encrypted or otherwise.

       15.     The term “Debit Card” shall mean any card issued by a financial institution to a

consumer for use in initiating an electronic fund Transfer from the Account of the consumer at

such financial institution, for the purpose of Transferring money between Accounts or obtaining

money, property, labor, or services.

       16.     The terms “Debtor” or “Jones” shall mean the Person who filed a petition for

chapter 11 relief in the case of In re Alexander E. Jones, No. 22-33553 (CML) (Bankr. S.D. Tex.)

and who goes by the name of Alexander Jones, Alex Jones, Alexander E. Jones, Alex E. Jones,

Alexander Emeric Jones, Alex Emeric Jones, or any other variation of the Debtor’s name,

including any alter egos, Persons who have apparent authority over the Debtor, Agents of the

Debtor, and Professionals of the Debtor.

       17.     The term “Deposit Ticket” shall mean any Document evidencing a deposit of

financial assets to a bank or financial institution with information including, inter alia, the date,

the name of the depositor, the depositor’s Account number, and the value of the assets being

deposited.

       18.     The term “Document” is defined to be synonymous in meaning and equal in scope

to the usage of the term “documents or electronically stored information” in Federal Rule of Civil

Procedure 34(a)(1)(A), including but not limited to all writings, drawings, graphs, charts,

photographs, sound recordings, images, electronically stored information, and other data or data




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compilations. This includes documents stored in any medium from which information can be

obtained either directly or, if necessary, after translation by the responding party into a reasonably

usable form, including but not limited to emails, texts, chats, spreadsheets, and PowerPoint

presentations. A draft or non-identical copy is a separate document within the meaning of this

term.

        19.    The term “including” shall mean “including, but not limited to.”

        20.    The term “Know Your Customer” shall mean any Documents in Your possession,

custody, or control concerning Your compliance with Rule 2090 of the Financial Industry

Regulatory Authority and the supplementary material thereto.

        21.    The term “Offset Item” shall mean activity or evidence of any withdrawals that are

made on a deposit on any Account.

        22.    The term “Payment” shall mean any voluntary or involuntary Transfer in exchange

for any service, product, or other asset, whether previously provided, provided contemporaneously

with the Transfer, or to be provided in the future, and whether or not such service, product, or other

asset was or will be provided to the Person making or causing the Payment to be made.

        23.    The term “Person” shall mean any natural person or any legal entity,

unincorporated association, or group of individuals or legal entities, whether formally or

informally established, and their Affiliates and Professionals, including, without limitation, any

business, trust, governmental entity, or association.

        24.    The term “Professional” shall mean any Person or entity engaged to provide or

involved in providing professional services of any kind at any time, including without limitation,

any attorneys, consultants (including independent consultants), independent contractors, advisors,

and testifying or non-testifying experts.




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       25.        The term “Promissory Note” shall include any written Document that is or

evidences a promise by one or more Persons to pay a debt to one or more Persons whether

nontransferable or otherwise, and any similar Document.

       26.        The term “Tax Documents” shall mean any tax return, tax form, tax schedule,

declaration, report, claim for refund, assessment, or information return, statement, or other

Document relating to taxes, including any schedules or form or attachment thereto, whether

prepared by the taxpayer, in the taxpayer’s individual capacity or the taxpayer’s capacity as an

employer or employee, a tax preparer, a bank or financial institution, the IRS, or any other

governmental authority.

       27.        The term “Transfer” shall have the meaning ascribed in 11 U.S.C. § 101(54)(A)–

(D), inclusive.

       28.        The term “Wire Transfer” shall mean any electronic Transfer of financial assets

from one Account to another Account.

       29.        The terms “You,” “Your,” or “Yours” shall refer to Coinbase, Inc.

       30.        The definitions described above shall apply regardless of whether such term is

capitalized or not capitalized.

       31.        Any references to a Person shall be deemed to include such Person’s Agents,

accountants, advisors, employees, attorneys and other Professionals, officers, directors, direct or

indirect shareholders, members, managers, representatives, Affiliates, subsidiaries, predecessors,

successors, assigns, trustees, fiduciaries, settlors, donors, beneficiaries, donors, or any other

individual or entity acting or purporting to act on behalf of such Person. In addition, the reference

to any trust shall include any current or former trustees, or other fiduciaries, settlors, donors, and

beneficiaries.




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       32.     The use of any singular noun shall be construed to include the plural, and vice

versa, and a verb in any tense shall be construed as the use of the verb in all other tenses.




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                                        INSTRUCTIONS

       1.      These instructions incorporate by reference the requirements and duties of the

Federal Bankruptcy Rules and the Local Rules.

       2.      Each Request is continuing in nature.       If at any time additional Documents

responsive to the Requests come into Your possession, custody, or control or are brought to Your

attention, prompt supplementation of Your response to these Requests is required.

       3.      You are requested to produce all Documents, Communications, and information

requested herein that are within Your possession, custody, or control or in the possession, custody,

or control of Your current and former officers, directors, Agents, employees, representatives,

Affiliates, Professionals, members, managers, trustees, or any other Person or entity acting or

purporting to act on Your behalf.

       4.      You are requested to produce Documents, Communications, and information

requested herein on a rolling basis.

       5.      If You cannot fully respond to one or more of the Requests after exercising due

diligence to secure the information requested thereby, please so state, and specify: (a) the portion

of each Request that cannot be responded to fully and completely; (b) what efforts were made to

obtain the requested information; (c) the facts relied upon that support Your contention that the

Request(s) cannot be answered fully and completely; and (d) any knowledge, information, or belief

You have concerning the unanswered portion of any such Request(s).

       6.      All Documents shall be produced with metadata in TIFF format with OCR images,

provided, however, that documents in Excel format shall be provided in native format. All

Documents shall be produced with metadata, including but not limited to the date and time




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created/sent, author, recipients, cc-copies, bcc-blind copies, family member information, MD-5

hash, subject line and title, and whether the document contains redactions.

       7.      If the response to any Request consists, in whole or in part, of an objection on the

basis of or including undue burdensomeness, then provide those documents that can be produced

without undue burden. For such documents that are too unduly burdensome to produce, describe

the process or method required to obtain said documents, the quantity and location of the

documents involved, and the estimated costs of the search.

       8.      If You intend to withhold any responsive Document, Communication, or other

information on the basis of a claim of attorney-client privilege, work product protection, bank

examination privilege, or any other ground of non-disclosure You shall identify such Document,

Communication, or information in writing by date of the Document’s creation, title/file name/“re

line”/subject, addressee/to/cc/bcc, addressor/from, Document type, and topic covered and listed

with a statement of the grounds alleged for withholding such Document, Communication, or other

information, including any privilege claimed.

       9.      If Your response to any Request is any other objection, You must indicate if

Documents are being withheld based on the objection(s), provide all Documents not covered by

the objection, and state the specific basis of the objection.

       10.     If any Document responsive to these Requests has been destroyed, lost, or

discarded, state when the Document was destroyed, lost, or discarded; identify the Person who

destroyed, lost, or discarded the Document; and, in the event the Document was destroyed or

discarded, identify the Person who directed that it be destroyed or discarded. Additionally, detail

the reasons for the destruction, loss, or discarding; describe the nature of the Document; identify




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the Persons who created, sent, received, or reviewed the Document; and state in as much detail as

possible the contents of the Document.

       11.     Subject to Instruction No. 6 above, Documents should be produced in the manner

they are kept in the ordinary course of business. In producing Documents, all Documents that are

physically attached to each other, or segregated or separated from other Documents, when

originally located, should be produced as is.

       12.     All Documents shall be produced in such fashion as to identify the custodian or

department in whose possession the Document was found and the business address of each

Document’s custodian(s).

       13.     The fact that a Document is produced by another party does not relieve You of the

obligation to produce Your copy of the same Document, even if the two Documents are identical.

       14.     Unless otherwise specified, the Requests call for the production of Documents and

Communications created, drafted, copied, or otherwise obtained from December 2, 2012, to the

present.

       15.     By serving these Requests, the Committee reserves all rights, does not waive any

of its rights, and expressly reserves the right to amend, to modify, or otherwise to supplement these

Requests.




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                               REQUESTS FOR PRODUCTION

       1.      Documents sufficient to identify any current or former Account in the Debtor’s

name, belonging to the Debtor, under the Debtor’s control, or to which the Debtor has ever had a

legal, equitable, possessory, contingent, beneficiary, or pecuniary interest, or for which the Debtor

is a beneficiary or signatory, individually or jointly with any other Person(s).

       2.      Documents sufficient to identify any current or former Account of, for the benefit

for any of the below listed entities or trusts, or for which any of the below listed trusts have or

have had legal, equitable, possessory, contingent, beneficiary, or pecuniary interest:

            a. A. Emric Productions, LLC;

            b. AEJ Austin Holdings LLC;

            c. AEJ Holdings LLC;

            d. Alex Jones Live;

            e. Austin Shiprock Publishing LLC;

            f. David R. Jones, D.D.S., Inc.;

            g. David R. Jones Family Limited Partnership;

            h. Emric Productions LLC;

            i. Free Speech Systems, LLC;

            j. Guadalupe County Land and Water L.L.C.;

            k. InfoW, LLC;

            l. IWHealth, LLC;

            m. JLJR Holdings LLC;

            n. Jones Production;

            o. Jones Productions, LLC;




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            p. Jones Report, LLC;

            q. LPTZ Holdings LLC;

            r. Magnolia Holdings, Limited Partnership;

            s. Magnolia Management, LLC;

            t. Planet Infowars, L.L.C.;

            u. PLJR Holdings LLC;

            v. PQPR Holdings Limited LLC;

            w. Prison Planet TV, LLC;

            x. RCGJ, LLC;

            y. the Missouri 779384 Trust;

            z. the RXXCTTGAA Trust;

            aa. the Alexander E. Jones Descendent and Beneficiary Trust;

            bb. the 2022 Appeal Trust;

            cc. the 2022 FSS Litigation Settlement Trust;

            dd. the AEJ 2018 Trust;

            ee. the Green Leaf Trust;

            ff. the Recharge Dynasty Trust; and

            gg. the Hutton Cabin Trust.

       3.      For each Account identified in response to Requests 1 or 2, Documents sufficient

to demonstrate:

            a. the date the Account was opened;




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            b. Documents sufficient to identify the names of any Persons who have ever had a

               legal, equitable, possessory, contingent, beneficial, or pecuniary interest in the

               Account;

            c. Documents sufficient to identify any Person(s) who hold power of attorney over

               the Account and any changes made, including power of attorney or the addition,

               subtraction, or modification of other Persons from that Account;

            d. Documents sufficient to identify any beneficiary of any Account;

            e. any change of address of any Account;

            f. the date the Account was closed, if applicable; and

            g. any Know Your Customer documentation.

       4.      For each Account identified in response to Requests 1 or 2, all Documents and

Communications concerning:

            a. all monthly Account statements, with itemized transaction-level information;

            b. all yearly Account statements,

            c. any Deposit Tickets or Offset Items;

            d. the substance of any withdrawals from any Account;

            e. any Wire Transfers in, out, or by any Account, including information concerning

               the origins, destinations, Account numbers, financial institutions, and any other

               Wire Transfer information or ACH Documentation;

            f. copies of any related Tax Documents;

            g. any Credit Documents;

            h. any Debit Card, Credit Card, Charge Card, ATM activity, or mobile-deposit

               information; and




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       5.     For each Account identified in response to Requests 1 or 2, all Documents and

Communications concerning any Cryptocurrency Wallets.




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